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                                11
    COSTA MESA, CA 92626




                                                        UNITED STATES DISTRICT COURT
                                12
                                                     SOUTHERN DISTRICT OF CALIFORNIA
                                13
                                   KATHLEEN HOLT, individually              Case No.: 17-cv-02246-MMA-BLM
                                14 and on behalf of all others similarly
                                15 situated,                                PLAINTIFF’S REPLY IN
                                16                Plaintiff,                SUPPORT OF MOTION FOR
                                                                            PARTIAL SUMMARY
                                17                       v.                 JUDGMENT AS TO LIABILITY
                                18 NOBLE HOUSE HOTELS &
                                                                                       Date: March 11, 2019
                                   RESORT, LTD. d/b/a NOBLE                            Time: 2:30 p.m.
                                19
                                   HOUSE HOTELS & RESORT,                              Place: Courtroom 3D
                                20 LTD. LP; and DOES 1 to 25,                          Judge: Hon. Michael M. Anello
                                   inclusive,
                                21
                                22            Defendants.

                                23
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                                27
                                28
                                     Case No.: 17-cv-02246-MMA-BLM                        Holt v. Noble House Hotels & Resort, LTD.
                                                                 PLAINTIFF’S REPLY IN SUPPORT OF
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                                 1       I. INTRODUCTION
                                 2          On December 27, 2018, plaintiff Kathleen Holt (“Plaintiff”) filed Plaintiff’s
                                 3 Motion for Partial Summary Judgment as to Liability against defendant NOBLE
                                 4 HOUSE HOTELS & RESORT, LTD (“Defendant”). [Dkt. No. 69]. Defendant
                                 5 filed its Response in Opposition to Plaintiff’s Motion for Partial Summary
                                 6 Judgment and Cross-Motion for Summary Judgment on All Issues. [Dkt. No. 75].
                                 7 Plaintiff now files her reply in support of Plaintiff’s Motion for Partial Summary
                                 8 Judgment As to Liability.1
                                 9       II. ARGUMENT
                                10          Plaintiff’s Motion for Partial Summary Judgment as to Liability should be
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                                11 granted for the following reasons: (1) Defendant violated the Consumers Legal
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                                12 Remedies Act, Cal. Civ. Code § 1750, et seq. as a matter of law on a class basis;
                                13 (2) Defendant’s surcharge practices are not protected by any “safe harbor”; (3)
                                14 Defendant is not entitled to, and provides no supporting evidence for, any alleged
                                15 affirmative defenses; and (4) Defendant failed to file a statement of disputed facts
                                16 or address Plaintiff’s Separate Statement of Undisputed Material Facts
                                17 (“SSUMF”) [Dkt. 69-2], thereby admitting Plaintiff’s SSUMF.
                                18   A. The Surcharge Is Per Se Unlawful
                                        1. The Addition of Defendant’s Surcharge to Every Food and Beverage
                                19         Item on the Menu Violates the Plain Language of the Section
                                20         1770(a)(20).
                                21      Defendant’s attempts to avoid the plain language of the Consumer Legal

                                22 Remedies Act “(CLRA”) and to evoke limited excerpts from the legislative
                                          2
                                23 history are unavailing, as are its attempts to now characterize the Surcharge as an
                                24   1
                                     Defendant’s brief (Dkt. No. 75) is confusing because it is unclear which
                                25 arguments Defendant intended to use for its opposition and those for its cross-
                                   motion for summary judgment. This appears to be an improper tactic in order to
                                26 limit Plaintiff’s ability to address all of the Defendant’s within only 10 pages of
                                27 reply,
                                   2
                                           and thus, numerous arguments are addressed briefly.
                                     It is apparent that the statute was intended to apply to food and beverages, even
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                                 1 “ancillary service,” which is directly contradicted by Defendant’s own
                                 2 admissions. [Dkt. No. 81-29, Defendant’s Response to RFA (Set Three), Nos. 23,
                                 3 24]. More importantly, Defendant fails to argue that the statute is vague or
                                                                                                     3
                                 4 ambiguous, and thus, no legislative history analysis is warranted. Matter of
                                 5 Transwest Resort Properties, Inc., 881 F.3d 724, 727 (9th Cir. 2018) (“[O]nly
                                 6 where the statutory test is ambiguous do we ‘look to other interpretative tools,
                                 7 including the legislative history,’ in order to determine the statute’s meaning.”)
                                 8 (citing Exxon Mobil Corp. v. Allapattah Servs., Inc. 545 U.S. 546, 567 (2005)).
                                 9          Here, no ambiguity exists. The CLRA does not define “goods” differently
                                10 from “products” as Defendant argues, because the statute does not provide a
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                                11 separate definition for the word “product,” while it provides a definition of the
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                                12 word “good.” Cal. Civ. Code § 1761(a) (defining goods as “tangible chattels”).
                                13 Thus, the words “good” and “product” were intended to be used interchangeably,
                                14 given that the § 1770(a) starts with a statement that the whole section applies to
                                15 the lease or sale of “goods” and “services.” § 1770(a). If the Legislature intended
                                16 to narrow the word “product,” it would have done so and would have provided a
                                17 separate narrow definition.
                                18          Assuming, arguendo, that the language of the CLRA were ambiguous
                                19 (which it is not), the statute expressly states that it “shall be liberally construed
                                20 and applied to promote its underlying purposes, which are to protect consumers
                                21
                                22 from the excerpts provided by Defendant. See Cal. Assembly Office of Research,
                                23 Concurrence in Senate Amendments to Assem. Bill 2979 (Molina), Aug. 17, 1984
                                   (stating that the statute was initially designed to prevent consumer fraud by food
                                24 stores); see also, In re Ferrero Litig., 794 F.Supp. 2d 1107, 1118 (S.D. Cal. 2011)
                                25 (denying
                                   3
                                              12(b)(6) in a CLRA matter involving a food spread).
                                     “‘Very strong’ evidence or explicit language from the legislative history is
                                26 necessary to overcome the plain meaning naturally to be drawn from the language
                                27 of the statute.” In re Seidel, 752 F.2d 1382, 1385 (9th Cir. 1985); Guru Nanak
                                   Sikh Soc’y v. County of Sutter, 326 F. Supp. 1128, 1139 (E.D. Cal. 2003).
                                28 Case No.: 17-cv-02246-MMA-BLM           2 of 11     Holt v. Noble House Hotels & Resort, LTD.
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                                 1 against unfair and deceptive business practices and to provide efficient and
                                 2 economical procedures to secure such protection.” Cal. Civ. Code § 1760. Thus,
                                 3 considering the broad and express language of the statute itself, the CLRA must
                                 4 be liberally construed in favor of the consumer and Defendant cannot introduce its
                                 5 own unsupported and drastically narrowed interpretation which contradicts the
                                 6 express provisions of the statute.
                                 7       2. The Surcharge Is A Charge In Addition To The Price of The
                                            Individual Menu Items, Not A Charge For “Ancillary Services”
                                 8          Furnished In Connection With The Sale of Those Items
                                 9         Defendant’s claim that the Surcharge is a “mandatory service charge
                                10 separate from food and beverage prices” and that the Surcharge practice is not
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                                11 “double-pricing individual products” fails for a number of reasons.
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                                12         First, Defendant admitted in discovery that the surcharge is not for a
                                13 service. [Dkt. No. 81-29, Def.’s Response to RFA (Set Three), No. 24]. Second,
                                14 the Surcharge is completely dependent upon, and directly tied to, the menu price
                                15 of the ordered food or beverage item. [SSUMF Nos. 1-3, 10, 13-16; Dkt. No. 69-
                                16 4, (“Dennis Depo., No. 1”), 22:8-22]. In fact, here is no variation for larger dishes
                                17 or complicated orders, and no difference in the Surcharge if the menu items are
                                18 ordered for take-out or consumed in the restaurant. [Dkt. No. 81-8 (“Dennis
                                19 Depo., No. 2”), 41:22-42:7]. Third, it appears that Defendant characterizes its
                                20 surcharge as a “service” is due to an action of “selling” rather than preparing a
                                21 meal. [Dkt. No. 81-8, Dennis Depo No. 2, 67:5-68:13]. Therefore, Defendant’s
                                22 attempt to distinguish food prepared at the restaurant and food prepared at a retail
                                23 store is unavailing.
                                24         Indeed, Defendant admits that the CLRA applies to food and beverages by
                                25 citing the statute’s legislative history. See Dkt. 75-1, 11:13-22 (arguing that
                                26 Section 1770(a)(20) was intended to apply to percentage markups charged by
                                27 “food stores” and to avoid a mark up for “a single food item.”). Therefore,
                                28   Case No.: 17-cv-02246-MMA-BLM            3 of 11     Holt v. Noble House Hotels & Resort, LTD.
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                                 1 Defendant’s only prerogative is to distinguish a restaurant from a food store, even
                                 2 though in food stores a number of items are similarly made (for instance, a cooked
                                 3 chicken or soup in Albertson’s stores).
                                 4          Thus, Defendant’s 3.5% surcharge added to the price of every food and
                                 5 beverage item at the end of the transaction, violates the plain language of Section
                                 6 1770(a)(20) because Defendant failed to disclose the total price of each item in its
                                 7 menu. SSUMF ¶¶ 2-3, 16, 18.
                                 8          3. Defendant’s Menus Are Advertisements Under The CLRA
                                 9          Defendant fails to develop any meaningful argument that its menus,4 in
                                10 which Defendant states the price of food and drinks and provides a brief
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                                11 description of its items, are not advertisements. [Dkt. 69-6, 69-21, 69-22].
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                                12 Although the CLRA does not provide a definition of an “advertisement”, it applies
                                13 to a wide range of media types, including “but not limited to shelf tags, displays,
                                14 and media advertising.” Cal. Civ. Code § 1770(a)(20). The menu is a “display”
                                15 (similar to shelf tags which consumers see when they enter stores) consisting of
                                16 descriptions and names of products and goods offered to consumers. See Id.; see
                                17 also, Dayna B. Royal, The Skinny on the Federal Menu Labeling Law & Why it
                                18 Should Survive a First Amendment Challenge, 10 FIRST AMEND. L. REV. 140, 150-
                                19 151 (Fall 2011)(“Menus and menu boards are vehicles through which restaurants
                                20 propose a commercial transaction – the purchase of food”). The CLRA’s liberal
                                21 construction and application has led courts to deem a wide range of
                                22 communications as advertisements. See e.g., In re Ferrero Litig., 794 F. Supp. 2d
                                23 at 1118 (applying CLRA to food products); Bogart v. Glenmark Generics, Inc.,
                                24 2014 U.S. Dist. LEXIS 158055, at *7-8 (S.D. Cal. 2014) (applying CLRA to birth
                                25
                                26   4
                                     Interestingly, in Defendant’s motion to dismiss (Dkt. No. 6-1), Defendant argued
                                27 that the restaurant “intended to sell its ‘goods’ (i.e. food and drink) and separate
                                   ‘services’ exactly as advertised on the Menu . . ..” (emphasis removed).
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                                 1 control); Wang v. Massey Chevrolet, 97 Cal.App.4th 856, 869 (2002) (broadly
                                 2 interpreting the statute).
                                 3         It is evident that Defendant has no binding nor persuasive authority to
                                 4 contend otherwise, other than improperly citing two unpublished state cases
                                                                                            5
                                 5 (Vespi and Michaelson), which have no precedential value. See Credit Suisse
                                 6 First Boston Corp. v. Grunwald, 400 F.3d 1119, 1126 fn. 8 (9th Cir. 2005)
                                 7 (disregarding unpublished appellate opinion because “the court’s task is to “predict
                                 8 how the highest state court would decide the issue using intermediate appellate
                                 9 court decisions, decisions from other jurisdictions, statutes, treatises, and
                                10 restatements as guidance”); Rennick v. O.P.T.I.O.N. Care, Inc. 77 F.3d 309, 317
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                                11 (9th Cir. 1996) (same); see also, Taylor v. Quall, 458 F. Supp. 2d 1065, 1068 (C.D.
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                                12 Cal. 2006) (rejecting citation to two unpublished California Court of Appeal
                                13 decisions); Antablian v. State Bd. of Equalization, 140 B.R. 534, 536-537 (Bankr.
                                14 C.D. Cal. 1992) (recognizing that the court could not reasonably rely on an
                                15 unpublished California state-court decision as an indication of how a California
                                16 appellate court would rule). Thus, Defendant’s menu is a communication to
                                17 consumers that advertises a price at which Defendant offers a menu item to the
                                18 consumer and promotes various dishes available at the restaurant.
                                        4. Defendant’s Surcharge Practices Are Not Protected By Any “Safe
                                19         Harbor”
                                20      “When specific legislation provides a ‘safe harbor,’ plaintiffs may not use
                                21
                                22   5
                                       Defendant misleadingly argues that California “courts have held” that food and
                                23   beverage items listed on the menu are not “products” and/or “goods” or surcharges
                                     are “not illegal,” repeatedly citing to unpublished California state court cases, which
                                24   is not only improper but also sanctionable conduct – such citations and references
                                25   should be completely disregarded. See Neary v. Regents of University of California,
                                     3 Cal. 4th 273, 282 (Cal. 1992) (“[T]rial courts make no binding precedents”);
                                26   Alicia T v. County of Los Angeles, 222 Cal. App. 3d 869, 885-86 (Ct. App. 1990)
                                27   (monetary sanctions imposed to discourage violation of citation rules); see also,
                                     Cal. R. 8.1115(a) (unpublished opinions are not to be “cited or relied upon.”)
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                                 1 the general unfair competition law to assault the harbor.’” Hauk v JP Morgan
                                 2 Chase Bank United States, 552 F.3d 1114, 1122 (9th Cir. 2009) (citing Cal-Tech
                                 3 Commc'ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th 163, 182 (Cal. 1999)).
                                 4 However, the safe harbor rule does not prohibit an action “merely because some
                                 5 other statute on the subject does not, itself, provide for the action or prohibit the
                                 6 challenged conduct.” Cal-Tech Commc'ns, Inc., 20 Cal. 4th at 183. The safe
                                 7 harbor statute or regulation “must actually ‘bar’ the action or clearly permit the
                                 8 conduct.” Id.
                                 9         Here, Defendant misleadingly argues that its unlawful conduct is authorized
                                10 by every “California enforcer and court” who have “recognized” a restaurant’s
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                                11 right to apply a “mandatory fixed-percent service charge to patrons’ bills.” Def.’s
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                                12 Oppo., 2:5-6, 12:3-5. First, Defendant’s “safe harbor” argument is waived due to
                                13 its failure to assert this affirmative defense in its Answer, [Dkt. Nos. 15, 37]. In re
                                14 Cellular 101, Inc., 539 F.3d 1150, 1155 (9th Cir. 2008)(holding that failure to
                                15 raise an affirmative defense constitutes a waiver of such defense); Fed. R. Civ. P.
                                16 8(b),(c). Second, as fully discussed above, Defendant’s surcharge is not a
                                17 “service” charge, as Defendant had previously admitted that it applies to every
                                18 food/beverage item, and is not a payment for service. [Dkt. No. 81-26, Def.’s
                                19 Response to RFA (Set Two), No. 14].
                                20         Third, neither the California Legislature nor state regulator have deemed
                                21 Defendant’s Surcharge practices proper. Defendant points to a notice issued in
                                22 February 2017 by the California State Board of Equalization (“BOE”) that only
                                23 addresses issues related to taxation of service charges. Nowhere in the BOE letter
                                24 does BOE authorize Defendant’s conduct, nor clearly permit the conduct – i.e.
                                25 failure to disclose the total price of the menu items inclusive of the surcharge on
                                26 the menu. [Dkt. No. 75-26]. The BOE offers no opinion or advice on the adequacy
                                27 of any disclosure or legality of the method by which Defendant collects its
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                                 1 Surcharge, and would lack the authority to do so in any case. As such, the BOE
                                 2 did not, and could not, provide any “regulations and guidelines” related to the
                                 3 collection or disclosure of the Surcharge itself or recognize the propriety of such
                                 4 business practices upon which Defendant could claim to reasonably rely.
                                 5          Fourth, Defendant cannot claim that 22 Code Regs. § 927-1 or California
                                 6 Labor Code § 350(e) provide safe harbor, which apply to “mandatory service
                                 7 charges distributed to employees” because pursuant to Judge Major’s ruling on the
                                                             6
                                 8 parties’ discovery dispute , how Defendant spends the Surcharge profits and
                                 9 whether the Surcharge is kept separate from Defendant’s profits is not at issue and
                                10 not relevant to Plaintiff’s claims. [Dkt. No. 47]. Since Plaintiff has been precluded
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                                11 from obtaining discovery to confirm or deny how the Surcharge is spent,
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                                12 Defendant cannot now simply assert in its moving papers that the Surcharge is a
                                13 “service charge distributed to employees at the employer’s discretion” when
                                14 Plaintiff cannot obtain discovery to confirm or dispute Defendant’s assertion.
                                15          Finally, Defendant cites no local or municipal laws in San Diego that have
                                16 considered surcharges and deemed them proper. Since the San Diego’s City
                                17 Attorney (“SDCA”) has taken legal action against multiple restaurants in the San
                                18 Diego area that began implementing similar surcharges, the practice is not as
                                19 universally accepted as Defendant claims. SDCA’s lack of prosecution of
                                20 Defendant’s restaurants does not provide it any safe harbor or in any way condone
                                21 its unlawful practices. Thus, there is no statute or regulation that “clearly permit”
                                22 Defendant’s conduct. See Cal-Tech Commc'ns, Inc., 20 Cal. 4th at 183.
                                23    B. EVEN IF DISCLOSED, DEFENDANT’S SURCHARGE IS LIKELY TO DECEIVE
                                         OR MISLEAD MEMBERS OF THE PUBLIC.
                                24
                                         Defendant attempts to mischaracterize Plaintiff’s claims regarding its
                                25
                                   alleged Surcharge disclosure. [Def.’s Oppo., pp. 18-24]. Here, Plaintiff argues that
                                26
                                   6
                                27   See Order Granting In Part Plaintiff’s Motion to Compel Discovery Responses
                                   From Defendant, at pp. 9-11. [Dkt. No. 47].
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                                 1 Defendant’s menu prices materially misrepresent the prices of Defendant’s menu
                                 2 items because the listed prices fail to include the surcharge. SSMUF, ¶ 3.
                                 3         The “reasonable consumer” standard is used to determine whether a
                                 4 violation of the CLRA, Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code
                                 5 §§ 17200, et seq.; or False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §§
                                 6 17500, et seq. exists. Under the standard, Plaintiff must show that members of the
                                 7 public are “likely to be deceived” as to the price of their order by Defendant’s
                                 8 surcharge practices. See Ries v. Ariz. Bevs. USA LLC, 2013 U.S. Dist. LEXIS
                                 9 46013, *11 (N.D. Cal. 2013) (citing Williams v. Gerber Products Co., 552 F.3d
                                10 934, 938 (9th Cir. 2008)); Wilson v. Hewlett-Packard Co., 668 F.3d 1136, 1140
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                                11 (9th Cir. 2012). This is determined by considering a reasonable consumer “who is
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                                12 neither the most vigilant and suspicious of advertising claims nor the most unwary
                                13 and unsophisticated, but instead is ‘the ordinary consumer within the target
                                14 population.’” Chapman v. Skype Inc., 220 Cal. App. 4th 217, 226 (Ct. App. 2013);
                                15 Lavie v. Proctor & Gamble Co., 105 Cal. App. 4th 496, 508 (Ct. App. 2003).
                                16 Moreover, “any violation of the FAL constitutes a violation of the UCL.”
                                17 Chapman, 220 Cal. App. 4th at 226; see Williams, 552 F.3d 934, 938; Kasky v.
                                18 Nike, Inc., 27 Cal. 4th 939, 951 (Cal. 2002).
                                19         As stated above, many consumers, including Plaintiff, do not see any
                                20 disclosure prior to ordering their food and later presented with an inflated bill at
                                21 checkout. Even assuming that a consumer did see the Surcharge disclosure, a
                                22 question of fact exists as to whether members of the public are likely to be
                                23 deceived by Defendant’s surcharge practices and alleged disclosures. Morgan v.
                                24 AT&T Wireless Services, Inc., 177 Cal. App. 4th 1235, 1258 (Ct. App. 2009)
                                25 (citing In re Tobacco II Cases, 46 Cal. 4th 298 (Cal. 2009)). Since a reasonable
                                26 person “would attach importance to [the] existence or nonexistence [of the
                                27 Surcharge]” in determining a course of action in the transaction, Plaintiff is
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                                 1 entitled to “a presumption or at least an inference, or reliance” on the material
                                                    7
                                 2 misrepresentation of Defendant’s menu prices caused by its surcharge practices.
                                 3          Defendant’s reliance on Freeman v. Time, Inc., 68 F.3d 285 (9th Cir. 1995)
                                 4 is misguided. The facts in Freeman do not involve a menu, but rather a
                                 5 sweepstakes promotion, which is readily distinguishable from a consumer
                                 6 ordering a menu item at a restaurant. Likewise, Defendant’s reliance on Dimond v.
                                 7 Darden Restaurants, Inc., 2014 WL 3377105 (S.D.N.Y. 2014) is unpersuasive
                                 8 because that case involved questions of New York law and, more importantly,
                                 9 under the New York law, plaintiff could not sue for deceptive practices where
                                10 defendant “fully disclosed terms and conditions of an alleged deceptive
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                                11 transaction that caused harm to plaintiff.” Id. Here, Plaintiff did not discover the
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                                12 surcharge until after she had already consumed her meal, and could no longer
                                13 leave the restaurant without paying for the Surcharge. [SSUMF No. 15].
                                14          Moreover, not only does Defendant fail to provide the total price of the
                                15 menu items inclusive of Surcharge, but it also admits that the surcharge is the
                                16 same size font as the menu prices, when Section 1770(a)(20) specifically requires
                                17 that the total price set forth in the advertisement must be larger than any other
                                18 price in that advertisement. [SSUMF ¶ 8]. Defendant also has no plans to
                                19 discontinue the Surcharge, and thereby continues to expose consumers to its
                                20 unlawful business practices. Therefore, even if Defendant is found to have not per
                                21 se violated the CLRA, the issue of whether Defendant’s Surcharge is likely to
                                22 mislead the public is a question of fact that must be decided by a jury.
                                23 ///
                                24
                                     7
                                25   The California Supreme Court has ruled that “[s]uch materiality is generally a
                                   question of fact unless the ‘fact misrepresented is so obviously unimportant that
                                26 the jury could not reasonably find that a reasonable [person] would have been
                                27 influenced by it.’” In re Tobacco II Cases, 46 Cal. 4th at 327; Engalla v.
                                   Permanente Medical Group, Inc., 15 Cal. 4th 951, 976-77 (Cal. 1997).
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                                       C. DEFENDANT’S SURCHARGE PRACTICES ARE NOT PROTECTED BY THE
                                 1        FIRST AMENDMENT AND DEFENDANT OFFERS NO EVIDENCE TO SUPPORT
                                 2        ANY OF ITS ALLEGED AFFIRMATIVE DEFENSES
                                            Defendant does not challenge the constitutionality of the CLRA, and
                                 3
                                     instead merely states that it “would raise serious constitutional concerns.” [Dkt.
                                 4
                                     75-1, p. 15, fn. 8]. In any event, Defendant failed to serve the required Rule 5.1
                                 5
                                     notice on the attorney general to give the government an opportunity to defend the
                                 6
                                     constitutionality of the CLRA. [SSUMF ¶ 26]. Further, Defendant’s proposed
                                 7
                                     defense is waived due to its failure to assert this affirmative defense in its Answer,
                                 8
                                     [Dkt. Nos. 15, 37]. In re Cellular 101, Inc., 539 F.3d 1150, 1155 (9th Cir. 2008).
                                 9
                                     Thus, this defense is inapplicable. In any event, Defendant has failed to show that
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                                   the CLRA, which does not ban surcharges, does not pass intermediate scrutiny.
                                11
    COSTA MESA, CA 92626




                                      D. DEFENDANT FAILED TO FILE A SEPARATE STATEMENT OF DISPUTED
                                12        MATERIAL FACTS AS REQUIRED BY FED. R. CIV. P. 56 AND THE COURT’S
                                          CHAMBER RULES
                                13
                                          Since Defendant failed to oppose or object Plaintiff’s Separate Statement of
                                14
                                   Undisputed Facts, this Court may deem Plaintiff’s facts admitted for the purpose of
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                                   Plaintiff’s motion for summary judgment. See United States v. Baisden, 2013 U.S.
                                16
                                   Dist. LEXIS 41787, *17-19 (E.D. Cal. 2013) (A party may not create a “genuine”
                                17
                                   issue of “material” fact simply by making assertions in its legal memoranda); Beard
                                18
                                   v. Banks, 548 U.S. 521, 527 (2006); Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
                                19
                                   250-51 (1986); Fed. R. Civ. P. 56(e)(2). Thus, Plaintiff’s facts should be deemed
                                20
                                   admitted for Defendant’s failure to present any evidence to the contrary. The Court
                                21
                                   should find that all of Defendant’s asserted affirmative defenses are without merit.
                                22
                                     III. CONCLUSION
                                23
                                          For the reasons stated above and in Plaintiff’s moving papers, Plaintiff
                                24
                                   respectfully requests that this Court grant her Motion for Partial Summary
                                25
                                   Judgment as to Liability. Plaintiff will litigate any remaining issues not suitable
                                26
                                   for summary judgment at trial.
                                27
                                28   Case No.: 17-cv-02246-MMA-BLM           10 of 11     Holt v. Noble House Hotels & Resort, LTD.
                                                                 PLAINTIFF’S REPLY IN SUPPORT OF
                                                     MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO LIABILITY
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                                 1 Dated: February 11, 2019                                Respectfully submitted,
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                                                                                     By:     /s/ Abbas Kazerounian
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